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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )       Case No. 22-cr-00027-RMM
                                  )
TYLER TEW,                        )
                                  )
                                  )
                 Defendant        )
                                  )




             DEFENDANT TYLER TEW’S MOTION TO MODIFY
                      CONDITIONS OF PROBATION




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      NOW COMES, Defendant Tyler Tew, by and through his undersigned

counsel or record, William L. Shipley, requesting this Honorable Court modify

the conditions of probation imposed by this Court so as to allow for

international travel to Montego Bay, Jamaica from March 13, 2024, to March

18, 2024, for the purposes of a family trip that had been previously planned.

      On November 28, 2023, Defendant Tew was sentenced to a term of 2-

years probation. See EFC No. 62

      Prior to sentencing, as part of the Defendant Tew’s terms and conditions

of pretrial release, Mr. Tew was ordered to surrender his passport to Pretrial

Services for the District of Arizona.

      Defendant Tew’s conditions of probation include no restriction on his

right to possess a passport, nor with regard to international travel. The only

travel restriction imposed is the requirement that Defendant Tew obtain

permission from the Court or Probation to leave the federal jurisdiction in

which the defendant resides.

      Defendant Tew requests that this Court order the return of his passport,

and grant authorization for Mr. Tew to travel with his family to Jamaica for

vacation as planned.

      Defendant Tew made a request to the United States Probation Officer

assigned to his case and was instructed to seek permission from the Court.

Defendant Tew will provide his Probation Officer with an itinerary for his trip,

including dates and modes of transportation (airlines, flight numbers, travel

dates), and the hotels or other accommodations he will be staying with




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telephone numbers. Defendant Tew will provide Probation with any other

information requested with respect to his plans as well.

                                 CONCLUSION

      Based on the foregoing, Mr. Tew respectfully requests this Honorable

Court modify the conditions of probation as set forth above, and order the

return of his passport by whatever office – Probation or Pretrial Services – that

has possession.



Dated: January 17, 2024                     Respectfully submitted,

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